               Case 5:15-cv-00407-FB Document 1 Filed 05/18/15 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


XENEX DISINFECTION SERVICES LLC,                          §
                                                          §
                                 Plaintiff,               §
    vs.                                                   §               CIVIL ACTION NO.
                                                          §                  5-15-cv-407
THE CLOROX COMPANY,                                       §
                                                          §
                                 Defendant.               §
                                                          §


                                     NOTICE OF REMOVAL

                 Defendant The Clorox Company (“Defendant”), by and through its undersigned

counsel, respectfully notifies this Court of the removal of the pending suit styled Xenex

Disinfection Services LLC v. The Clorox Company (the “State Court Action”), from the District

Court of the 150th Judicial District of Bexar County, Texas, pursuant to 28 U.S.C. § 1446(a). In

support hereof, Defendant states as follows:

                                        A. BACKGROUND

          1.     Plaintiff Xenex Disinfection Services LLC (“Plaintiff”) is a limited liability

company organized under the laws of the State of Texas with its principal place of business in

the State of Texas. (Plaintiff’s Original Petition, Exhibit A, at ¶ 2.)

          2.     Defendant is a corporation organized under the laws of the State of Delaware with

its principal place of business in the State of California. (Petition, Exhibit A, at ¶ 3.)

          3.     On March 27, 2015, Plaintiff filed the State Court Action, Cause No. 2015-Cl-

05178, in the 150th District Court of Bexar County, Texas. (See Petition, Exhibit A.)




Notice of Removal                                                                            Page 1
1744203.1
             Case 5:15-cv-00407-FB Document 1 Filed 05/18/15 Page 2 of 5




        4.       Defendant was served with this lawsuit on April 27, 2015 and thus files this

Notice of Removal within the 30-day time period required by 28 U.S.C. § 1446(b).

        5.       Plaintiff’s Original Petition (the “Petition”), the Civil Cover Sheet, Request for

Process, and Citation (Exhibit A) constitutes the only “process, pleadings, and orders served

upon” of which Defendant is aware. See 28 U.S.C. § 1446(a).

                       B. PLAINTIFF’S ALLEGATIONS AND RELIEF SOUGHT 1

        6.       The Petition alleges that Plaintiff makes truthful marketing and advertising

statements on its website, including but not limited to the effect that: (i) the EPA defines mercury

as a toxic pollutant; (ii) the Xenex bulb contains no toxic mercury, but rather contains

environmentally friendly xenon gas and does not require special handling or disposal; (iii) all UV

competitors use bulbs that contain mercury which requires special handling incident to bulb

breakage; (iv) depending upon the amount of mercury present in a mercury bulb, special disposal

requirements may apply under federal and state regulations; and (v) the Xenex device is faster

than mercury devices. (Petition, Exhibit A, at ¶ 7.)

        7.       The Petition further alleges that Defendant, a competitor of Plaintiff, contends

such statements are false or misleading descriptions of fact and/or that Xenex’s marketing and

advertising statements on its website violate the Lanham Act, 15 U.S.C. § 1051, et seq. and/or

other laws. (Petition, Exhibit A, at ¶ 7.)

        8.       Plaintiff seeks declaratory relief that its website statements at issue are truthful

and accurate statements of fact or statements of opinion that are not prohibited by the Lanham

Act or otherwise prohibited by law, and/or that such statements constitute protected commercial



1
         The allegations of the Petition are accepted as true for purposes of this Notice of Removal only. Defendant
does not concede the facts alleged and expressly reserves its right to answer, move to dismiss, or otherwise respond
to the Petition.


Notice of Removal                                                                                            Page 2
1744203.1
               Case 5:15-cv-00407-FB Document 1 Filed 05/18/15 Page 3 of 5




speech under the First Amendment to the United States Constitution. (Petition, Exhibit A, at

¶ 11.)

         9.      Plaintiff further seeks an award of court costs and reasonable and necessary

attorneys’ fees. (Petition, Exhibit A, at ¶ 12.)

                                    B. BASIS FOR REMOVAL

         10.     This Court has removal jurisdiction because this is a civil action “of which the

district courts of the United States have original jurisdiction” in that it is an action “arising under

the . . . laws . . . of the United States.” 28 U.S.C. §§ 1441(a) and 1331.

         11.     In particular, federal question jurisdiction exists in this action because Plaintiff

purports to seek declaratory relief relating to the propriety of its advertising and marketing

statements under the Lanham Act, 15 U.S.C. § 1051, et seq.

         12.     Moreover, Plaintiff claims that its website statements constitute protected

commercial speech under the First Amendment to the United States Constitution.

         13.     Claims for violations of Federal statutes and/or under the United States

Constitution, or for a declaration to vindicate rights under Federal statutes and/or the United

States Constitution, provide this Court with original jurisdiction over this action and make

removal proper. See 28 U.S.C. § 1331; see also Target Strike, Inc. v. Marston & Marston, Inc.,

524 F. App'x 939, 943 (5th Cir. 2013) (recognizing a claim under the Lanham Act as grounds for

federal jurisdiction).

         14.     Venue is proper in this Court because the 150th Judicial District Court of Bexar

County, Texas is located within the Western District of Texas, San Antonio Division.

                                        C. JURY DEMAND

         15.     Plaintiff did not demand a jury in the State Court suit.



Notice of Removal                                                                               Page 3
1744203.1
              Case 5:15-cv-00407-FB Document 1 Filed 05/18/15 Page 4 of 5




                            D. PROCEDURAL REQUIREMENTS

        16.     Defendant will promptly give written notice of this Notice of Removal to Plaintiff

and file a copy of this Notice of Removal with the clerk of the State Court where the suit has

been pending. See 28 U.S.C. §§ 1446(a), (d).

        17.     By filing this Notice of Removal, Defendant does not concede any of the facts

alleged, the propriety of the purported claims, or waive any defenses or counterclaims which

may be available to it.


                WHEREFORE, Defendant respectfully notices removal of this case to the United

States District Court for the Western District of Texas pursuant to 28 U.S.C. §§ 1441 et seq. and

1331.



                                                     Respectfully submitted,

                                                     By:    /s/ Derick J. Rodgers
                                                            Derick J. Rodgers
                                                            State Bar No. 24002857
                                                            drodgers@lawdcm.com

                                                     DAVIS, CEDILLO & MENDOZA, INC.
                                                     755 E. Mulberry Ave., Suite 500
                                                     San Antonio, TX 78212
                                                     (210) 822-6666
                                                     (210) 822-1151 (Facsimile)

                                                     KELLEY DRYE & WARREN LLP
                                                     101 Park Avenue
                                                     New York, New York 10178
                                                     Telephone: (212) 808-7800
                                                     Fax: (212) 808-7897

                                                     ATTORNEYS FOR DEFENDANT
                                                     THE CLOROX COMPANY




Notice of Removal                                                                           Page 4
1744203.1
            Case 5:15-cv-00407-FB Document 1 Filed 05/18/15 Page 5 of 5




                              CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing document has been served on the
following as by fax or electronic service on this 18th day of May, 2015:

        J. Bruce Scrafford
        Armbrust & Brown, PLLC
        100 Congress Avenue, Suite 1300
        Austin, Texas 78701
        Tel: 512.435.2300
        Fax: 512.435.2360



                                               /s/ Derick J. Rodgers
                                               Derick J. Rodgers




Notice of Removal                                                                  Page 5
1744203.1
